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CIVIL COVER SHEET

The civ cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by
law, except as provided by local rules of court. This form isrequired for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE
INSTRUCTIONS ON THE REVERSE OF THE FORM.}

(a) PLAINTIFES DEFENDANTS
Thomas A. Simonian Prizer, Ine.
(b) County of Residence of First Listed Plaintiff? Kane County of Residence of First Listed Defendant
(EXCEPP UN US. PLAINTIFF CASES) CIN US, PLAINFIFF CASES ONLY)

   
 

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{c) Attomey’s (Firm Name, Address, and Telephone Number} Adorneys Gf Known)
Thomas A. Vickers, Vanek, Vickers & Masini, P.C.
4118. Wacker Drive, Suite 4050, Chicago, IL 60606 (312) 224-1500

 

 

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